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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 10-20263-BC
v.                                                            Honorable Thomas L. Ludington

D-2 LINDA MAE LOPEZ,

                  Defendant.
_______________________________________/

    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO THE INFORMATION, AND TAKING THE
           RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on July 7, 2010, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on July 8,

2010, recommending that this Court accept the defendant’s plea of guilty to the information. As of

today’s date, no party has filed any objections to the magistrate judge’s report and recommendation.

The election to not file objections to the magistrate judge’s report releases the Court from its duty

to independently review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

# 31] is ADOPTED.

       It is further ORDERED that the defendant’s plea of guilty as to the information is

ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 30] is taken UNDER ADVISEMENT.

                                              s/Thomas L. Ludington
                                              THOMAS L. LUDINGTON
                                              United States District Judge
Dated: August 20, 2010
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                                          PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was served
                  upon each attorney or party of record herein by electronic means or first
                  class U.S. mail on August 20, 2010
                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS




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